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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 M.A., an individual,                               )
                                                    )
                         Plaintiff,                 )   Case No. 2:19-cv-00849
                                                    )
 v.                                                 )   Chief Judge Algenon L. Marbley
                                                    )
 WYNDHAM HOTELS &                                   )   Chief Mag. Judge Elizabeth Preston Deavers
 RESORTS, INC., et al.,                             )
                                                    )
                         Defendants.                )

   PLAINTIFF M.A.’S MOTION FOR A PROTECTIVE ORDER TO PREVENT THE
 VOLUNTARY DISCLOSURE OF PLAINTIFF’S IDENTITY TO HER TRAFFICKER(S)

           COMES NOW, the Plaintiff M.A. (the “Plaintiff” or “M.A.”), by and through the

 undersigned counsel, and respectfully moves this Honorable Court to enter a protective order,

 pursuant to Fed. R. Civ. P. 26(c) and Fed. R. Civ. P. 5.2 to ensure that all parties in this matter do

 not volunteer or otherwise provide the Plaintiff’s true identity to her trafficker(s) or any of his

 associates in order to safeguard against any unnecessary or unreasonable risk to the Plaintiff’s

 safety.

                                         INTRODUCTION

           The Plaintiff is a survivor of sex trafficking. See Compl. at ¶ 3. As such, she is also a

 crime victim within the meaning of the Trafficking Victims Protection Reauthorization Act

 (“TVPRA”). Id. at ¶ 106. Due to the sensitive and private nature of the issues involved, and

 more importantly, the potential for retaliation, the Plaintiff is pursuing this case under a

 pseudonym consistent with the previously entered Stipulated Protective Order. (ECF No. 60-1).

 Per the Stipulated Protective Order, witnesses in this case may learn the Plaintiff’s true identity

 subject to its terms and conditions. See generally, ECF No. 60-1.           Since the entry of the




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 Stipulated Protective Order, one or more of the Defendants have expressed an interest in

 approaching the Plaintiff’s trafficker(s) during the course of discovery. In advance of any such

 contact, the Plaintiff seeks a protective order that will clearly define the parameters under which

 contact with the Plaintiff’s trafficker(s) shall occur to protect the Plaintiff from a risk of serious

 harm. If any party in this case is permitted to disclose the Plaintiff’s true identity or identifying

 information to her trafficker(s) or his associates, it could subject her to the violent and dangerous

 harms she now seeks redress from in this litigation via the TVPRA’s civil remedy provisions

 pursuant to 18 U.S.C. § 1595 that are not dependent upon on a criminal conviction of Plaintiff’s

 trafficker, thus the Plaintiff is not automatically protected from her trafficker(s) because of his

 incarceration, and in any event is not protected from all of his associates.

        In the instant case, the Plaintiff alleges Defendants failed to implement policies and

 procedures and other safeguards known to prevent human trafficking and that Defendants

 profited from the sex trafficking of the Plaintiff at their hotels in violation of the TVPRA. See

 Compl. at ¶¶ 63, 64, 72, 88, 91, 92, 94, and 97. As this Court and other courts have held, there

 need not be an overt act to pursue liability under § 1595. M.A. v. Wyndham Hotels & Resorts,

 Inc., 425 F. Supp. 3d 959, 964 (S.D. Ohio 2019). Thus, these defendants can be liable to the

 Plaintiff without having violated the criminal sections of the TVPRA and independently of the

 trafficker’s misconduct. See Ricchio v. Bijal, Inc., 424 F. Supp. 3d 182, 194 (D. Mass. 2019);

 A.B. v. Marriott Int’l Inc., No. 19-5770, 2020 WL 1939678, at *20 (E.D. Pa. Apr. 22, 2020).

 Section 1595 liability does not include the requirement that a plaintiff demonstrate defendants’

 direct engagement in a commercial sex act.            Instead, it is the defendants’ knowledge of

 trafficking and the knowledge of the signs of trafficking at Defendants’ hotels that creates

 liability. At the outset, the testimony of Plaintiff’s trafficker(s) has little to no probative value




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 into whether Brand defendants benefited from sex trafficking. Certainly, any such evidence to

 demonstrate whether or not Plaintiff was trafficked at a particular hotel could be obtained from

 Defendants’ own files and systems, other witnesses, and from Plaintiff herself.

        The ultimate issues before this Court are (1) whether the Plaintiff is forced to sacrifice the

 protections afforded to her as a crime victim under both federal and state law, and (2) whether

 the Defendants have the right to unilaterally engage in actions that would potentially endanger

 Plaintiff’s life simply because she exercised her rights by filing a lawsuit under the TVPRA. The

 Plaintiff respectfully submits the answer to both questions is “no.”

        Under Fed. R. Civ. P. 26(c), this Court has the power, upon a demonstration of “good

 cause,” to protect the Plaintiff’s rights under the law because this case involves not only the

 Plaintiff’s personal safety and privacy, but also involves issues important to the public. In fact,

 Magistrate Judge Fricke in the Western District of Washington recently acknowledged the

 importance of Plaintiff’s safety and privacy and has suggested a protective order whereby

 consent of the parties is required before Plaintiff’s identity is disclosed to the trafficker(s),

 affiliate(s), or “other persons or entities as needed to litigate any claims or defenses” after

 signing an acknowledgment and agreement to be bound. M.L. v. Craigslist, No. 19-cv-06153,

 Dkt. 128-1 at 5 (W.D. Wash. Jun. 18, 2020) (Fricke, M.J.)

        While the Plaintiff agrees that all litigants have the right to adequately investigate the

 material issues in this case, she simply requests that the Court endorse the protections afforded to

 her as a survivor of sex trafficking. Moreover, Defendants do not have a right to engage in

 investigations that would put the Plaintiff’s life in danger, specifically if a less drastic

 investigative process can be put in place that protects both Plaintiff’s life and Defendants’ right




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 to investigate their case. As such, the Plaintiff proposes that no party, nor counsel for any party,

 disclose the Plaintiff’s Identity to the Plaintiff’s trafficker(s) or his affiliates.

 I.      STANDARD OF REVIEW

         Courts have broad discretion to direct discovery, including to protect litigants from

 harassment and abuse. See Procter & Gamble Co. v. Bankers Trust Co., 78 F.3d 219, 227 (6th

 Cir. 1996); Seattle Times Co. v. Rhinehart, 467 U.S. 20, 36 (1984) (“Rule 26(c) confers broad

 discretion on the trial court to decide when a protective order is appropriate and what degree of

 protection is required.”). The Federal Rules of Civil Procedure underscore such discretion by

 explaining that courts may, for “good cause,” issue an order to protect a party or person from

 annoyance, embarrassment, oppression, or undue burden or expense.                   See Fed. R. Civ. P.

 26(c)(1).    Accordingly, a court can issue a protective order “forbidding the disclosure of

 discovery” at issue, or “forbidding inquiry into certain matters, or limiting the scope of

 disclosure or discovery to certain matters.” Id.

 II.     LEGAL ARGUMENT

         A.      Federal Statutory and Common Law Protects Crime Victims From
                 Unnecessary Safety Risks or Potential for Intimidation From Their
                 Assailants

         Various federal and state laws mandate protections for crime victims, such as a right to

 “reasonable protection” from the perpetrator. See, e.g., 18 U.S.C.A. § 3771 (a)(1) (crime victims

 have the “right to be reasonably protected from the accused.”). The Plaintiff also has a common

 law right to privacy in matters of a personal nature. See Barbe v. McBride, 521 F.3d 443, 459

 (4th Cir. 2008) (recognizing that the government has “a valid interest in protecting victims of

 sexual abuse from needless harassment, humiliation, and ‘unnecessary invasions of privacy’”).

 This is often referred to as the right to “informational privacy.” Bloch v. Ribar, 156 F.3d 673,




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 683 (6th Cir. 1998). The right to informational privacy encompasses the victim’s legal interest

 in the nondisclosure of certain personal information. Id. at 684; see Florida Star v. B.J.F., 491

 U.S. 524, 536 (1989) (finding that “it is undeniable” that protecting the physical safety of sexual

 assault victims, “who may be targeted for retaliation if their names become known to their

 assailants,” is a “highly significant” state interest and that such an interest, under certain

 circumstances, may warrant imposition of civil sanctions for publication of rape victim’s name);

 Anderson v. Blake, 469 F.3d 910, 914 (10th Cir. 2006) (holding that a rape victim has a

 constitutionally protected privacy interest in videotape depicting her rape).

         All survivors of human trafficking should share in our fundamental constitutional right to

 access the courts without worry or fear that exercising their rights could unnecessarily put their

 safety at risk. See Chappell v. Rich, 340 F.3d 1279, 1282 (11th Cir. 2003) (“Access to the courts

 is clearly a constitutional right, grounded in the [right to petition clause of the] First Amendment,

 the Article IV Privileges and Immunities Clause, the Fifth Amendment and/or the Fourteenth

 Amendment”); Ryland v. Shapiro, 708 F.2d 967, 971 (5th Cir. 1983) (noting that access to courts

 is a fundamental right). The unnecessary disclosure of a crime victim’s identity could interfere

 with this right and cause other victims and survivors to forfeit their right to pursue justice. See,

 Globe Newspaper Co. Inc. v. Clerk of Suffolk Cnty Superior Court, No. 01-5588*F, 2002 WL

 202464, *6 (Mass Super. Feb. 4, 2002) (unpublished) (“If the identity of [sexual abuse] victims

 are not protected by the courts, then their access to the courts will be severely diminished,

 because they will not be able to turn to the courts for relief from or compensation of their

 emotional injuries without aggravating those same injuries.”); see also cf. Wilmink v. Kanawha

 County Board of Education, No. 2:03-cv-179, 2006 WL 456021, *3 (S.D. W. Va. Feb. 23, 2006)

 (“If individuals are assured their identities will be protected in situations like those at issue in this




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 [sexual abuse case] and related cases, they are more likely to come forward and candidly recount

 their experiences.”).

         Under the Crime Victims’ Rights Act, 18 U.S.C. § 3771 (“CVRA”), a crime victim has

 “[t]he right to be treated with fairness and with respect for the victim’s dignity and privacy.” See

 18 U.S.C. § 3771(a)(8). The CVRA has served as a basis upon which a court issued a protective

 order limiting the use and disclosure of discovery materials. See, e.g., United States v. Hines,

 Case No.: 17-CR-135, 2017 WL 1250844, *1-2 (N.D. Ill. Apr. 5, 2017) (unpublished) (issuing

 protective order limiting use and disclosure of discovery materials based upon, inter alia, the

 victim’s rights to protection and to privacy under the CVRA). Congress also included several

 privacy protections in the 2013 reauthorization of the Violence Against Women and Department

 of Justice Reauthorization Act (“VAWA”). In VAWA’s privacy protections, it is clear that one

 of the main purposes was to protect victims of sexual assault; therefore, the Plaintiff asserts that

 the objective of VAWA should be kept at the forefront of this Court’s consideration when

 evaluating the Plaintiff’s request that her trafficker(s) not be given her true identity by the

 litigants in this case.

         B.      Ohio’s Marsy’s Law Protects Crime Victims From Unnecessary Safety Risks
                 or Potential for Intimidation From Their Assailants

         Furthermore, Ohio’s version of Marsy’s Law [Oh. Const. Art. I, § 10a(B)] reads as

 follows:

                 (B) The victim, the attorney for the government upon request of the
                 victim, or the victim’s other lawful representative, in any proceeding
                 involving the criminal offense or delinquent act against the victim or in
                 which the victim’s rights are implicated, may assert the rights
                 enumerated in this section and any other right afforded to the victim by
                 law. If the relief sought is denied, the victim or the victim's lawful




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                representative may petition the court of appeals for the applicable district,
                which shall promptly consider and decide the petition.
                …
                (D) As used in this section, “victim” means a person against whom the
                criminal offense or delinquent act is committed or who is directly and
                proximately harmed by the commission of the offense or act. The term
                “victim” does not include the accused or a person whom the court finds
                would not act in the best interests of a deceased, incompetent, minor, or
                incapacitated victim.

 (emphasis added). Black’s Law Dictionary defines “proceeding” to include the “regular or

 orderly progression of a lawsuit, including all acts and events between the time of

 commencement and the entry of judgment.” Admittedly, the protections afforded to victims

 under Marsy’s Law is typically applied by Courts within the criminal justice system, §10a(B)

 references “any proceeding” which the Plaintiff contends includes this case.

        The aforementioned state and federal crime victims’ rights laws exist without competing

 with the compelling constitutional rights of criminal defendants, including the right to confront

 witnesses against them.      See U.S. Const. amend. VI.        In this case, no such balancing of

 constitutional rights are implicated by any Defendant. This is civil litigation, and the Plaintiff’s

 criminal traffickers are not parties to this case, and at least one of the traffickers and some of

 their associates are still at large – all weighing in favor of greater protections for the Plaintiff as

 the most prudent course. As discussed above, trial courts have discretion to make discovery

 determinations based on prudence, even if a particular state or federal crime victims’ rights law

 does not have direct application to the issues in this case. These built-in protections were

 designed to protect the victim consistently from unnecessary risk of harm or humiliation.

        C.      Proper Protections Are Required to Prevent Intimidation and Risk of
                “Destroying the Cause of Action.”




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        Additionally, to ensure the Plaintiff’s safety, counsel for Plaintiff proposes that the parties

 be prohibited from volunteering or otherwise disclosing the Plaintiff’s true identity to her

 trafficker(s) or any of his associates. Additionally, Defendants should put Plaintiff’s counsel on

 notice of the nature and character of investigations related to the sex trafficker or his associates

 prior to engaging in such investigations. This will allow the Parties to confer regarding the

 nature of any proposed investigation and fashion appropriate safeguards and protocols related to

 these investigations.

        In the instant action, the risk of danger to Plaintiff cannot be overstated. While she was

 being trafficked and exploited for sex, the Plaintiff was subjected to severe violence and abuse.

 See, e.g., Compl. at ¶¶ 4, 50, 55.       Prohibiting the disclosure of Plaintiff’s identity to the

 Plaintiff’s trafficker(s) or his associates would not inhibit Defendants’ ability to defend this case.

 Indeed, it is impossible to conceive of why Defendants believe such an action could possibly

 benefit their case. The Defendants have access to sufficient facts alleged in the Complaint and

 discovery without communicating directly with the Plaintiff’s trafficker from which they can

 investigate and defend the Plaintiff’s claims. Therefore, there is not an absolute need to disclose

 the Plaintiff’s true identity as the party Plaintiff or any information that could lead to discovering

 the Plaintiff’s identify by the very perpetrators who trafficked her for sex.

        Furthermore, Defendants have utterly failed to demonstrate how speaking with Plaintiff’s

 trafficker(s) or his associates would lead to relevant information to their defense, let alone why

 they need to disclose the Plaintiff’s identity to her trafficker(s). Even if such discovery were

 critical to any defenses (which it is not) the risk of injury to the Plaintiff, if such information

 were disclosed, outweighs the need for its disclosure. See Flores v. Albertsons, Inc 2002 U.S.

 Dist. LEXIS 6171, 2002 WL 1163623, No. CV 01-00515 AHM (SHX), (C.D.Cal. April 9, 2002)




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 at 6 (citing Flynn v. Goldman, Sachs & Co. (S.D.N.Y. Sept. 16, 1993) 1993 U.S. Dist. LEXIS

 12801, 1993 WL 362380, No. 91 Civ. 0035 (KMW)). Allowing the Defendants to reveal the

 Plaintiff’s identity to her trafficker(s) unnecessarily opens the door to “the danger of

 intimidation, the danger of destroying the cause of action” and would inhibit plaintiffs in

 pursuing their rights. Zeng Liu v. Donna Karan Int’l, Inc., 207 F. Supp. 2d 191 citing

 Ansoumana v. Gristede’s Oper. Corp. (S.D.N.Y. Nov. 8, 2000) No. 00 Civ. 0253 (AKH)

 (hearing tr. at 12); see also In re Reyes 814 F.2d at 170. Defendants’ proposed course of action,

 without reasonable justifications, i.e., disclosing the Plaintiff’s true identity to her trafficker(s),

 serves only to chill the litigation and discourage others who may want to stand up against the

 horrors of sex trafficking from bringing additional lawsuits against hotel defendants.

         While the Plaintiff understands and appreciates the Defendants’ need to defend and

 present their case, these interests must be balanced between a course of discovery which is

 unlikely to reveal relevant evidence and instead will serve to indimitate and otherwise endanger

 the Plaintiff’s life. Thus, based on courts’ discretion to protect litigants from harassment and

 abuse in the discovery process, the particular facts of this case, and the crime victims’ rights

 currently recognized in multiple jurisdictions, this Court should enter a protective order limiting

 the disclosure of Plaintiff’s Identity.

         Pursuant to the Stipulated Protective Order, Plaintiff is proceeding under a pseudonym

 and she has provided her true identity to the hotel Defendants. Plaintiff’s pursuit of this case

 under a pseudonym evidences her desire to avoid the embarrassement, harassment and

 oppression that may flow from asserting her rights as a sex trafficking survivor. See ECF No.

 60-1. In the Stipulated Protective Order, the Plaintiff agreed that witnesses in this case can know

 her true identity subject to the conditions of the protective orders in this case, including the




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 requirement that any such witness sign the acknowledgement to be bound to the confidentiality

 and protective orders in this case. Id. at 2-3. However, earlier this year, since the entry of

 Stipulated Protective Order, one or more of the Defendants proposed directly approaching the

 Plaintiff’s trafficker(s) during the course of discovery in this case and disclosing the Plaintiff’s

 true identity. Therefore, in advance of any such contact, the Plaintiff seeks a case management

 order that would prevent any party from simply volunteering or otherwise providing the

 Plaintiff’s true identity or any of her identifiers to the Plaintiff’s alleged trafficker or his

 associates. Moreover, prior to engaging in such an investigation, Defendants should notify

 Plaintiff’s counsel of the nature and character of such an investigation. This request will not and

 does not prejudice the Defendants’ ability to defend this litigation. Furthermore, Plaintiff’s

 substantial privacy and safety interest would substantially outweigh any potential prejudice such

 a condition would cause a Defendant in this case.

        The Plaintiff seeks to remove the risks inherent in any irrelevant or tangential course of

 action the Defendants may pursue by reaching out to her trafficker(s) about his crimes. Good

 cause clearly exists to preclude the disclosure of Plaintiff’s identity to her trafficker(s) or his

 associates, because such disclosure would likely put her at severe risk of serious harm.

        Relatedly, courts have protected whistleblowers’ and informants’ true identities for safety

 reasons.    See e.g., G.K. Las Vegas Ltd. P’ship v. Simon Prop. Grp., Inc., No.

 204CV01199DAEGWF, 2008 WL 11388585, at *5 (D. Nev. June 18, 2008) (not requiring

 plaintiffs to disclose employee whistleblower’s identity, due in part to the risk to his or her job);

 Bennett v. Kingsbridge Heights Rehab. Care Ctr., No. 07 CIV. 9456 LAK/DFE, 2009 WL

 3294301, at *3–4 (S.D.N.Y. Oct. 8, 2009) (denying motion to compel disclosure of informants’

 identities). Although informants are protected by a particular privilege, Bennett did not rely on




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 that alone, but on the court’s authority “to preclude certain discovery if the burden . . . of the

 proposed discovery outweighs its likely benefit, or if preclusion is needed to protect a party or

 person from annoyance, embarrassment, or oppression,” even where no privilege applies, and

 noted that a burden could be “risks to . . . physical security and privacy.” 2009 WL 3294301, at

 *3–4 (internal citations omitted).

         Courts have even forbidden disclosures of identities to protect people from harassment

 or reprisals for their political or civil rights involvement. See, e.g., NAACP v. State of Ala. ex rel.

 Patterson, 357 U.S. 449, 462–63 (1958) (an order requiring the advocacy group to reveal

 member names in a state-initiated lawsuit to enjoin the organization violated due process).

        The Plaintiff, like the whistleblowers in G.K. Las Vegas, faces repercussions if her

 identity is disclosed. She is at risk if there are no protections in place to prevent the disclosure of

 her identity to her trafficker(s) during the discovery process. As the Bennett case noted, physical

 danger and threats to privacy are both burdens that judicial discretion over discovery is designed

 to mitigate, even when a specific privilege against disclosure does not apply.

        Similar to Penzato, the Plaintiff here is a survivor of sex trafficking and sexual assault,

 and thus should be afforded additional protections, particularly for her privacy. Moreover – as in

 the NAACP case – the Plaintiff has similar reasons to fear reprisal from people who committed

 abuses against her, just as members of the NAACP feared violent reprisal in Alabama by those

 opposed their civil rights work. In this case, disclosing the Plaintiff’s identity to her trafficker(s)

 presents a danger to her person and she is understandably concerned for her safety.

        Given the extensive, related reasoning in federal statutory and case law for curtailing

 otherwise permissible discovery, it is reasonable to determine that the Defendants should not be

 allowed to have ex parte contact with the Plaintiff’s trafficker(s) and should not be able to reveal




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 the Plaintiff’s identity to the trafficker(s) or his associates, and certainly not without proper

 protocols in place.

          The Plaintiff proposes that the Defendants demonstrate good cause prior to making

 contact with the Plaintiff’s trafficker(s) and that, if needed, the Court appoint a special master or

 institute a protocol whereby Defendants may demonstrate what circumstances warrant contact

 with the Plaintiff’s trafficker(s) and whether the Defendants propose to disclose the Plaintiff’s

 true identity to her trafficker(s).          For example, if during a duly noticed deposition, the

 trafficker(s) or his associates voluntarily and for the first time, testifies either that he or she: (1)

 has knowledge of commercial sex activity involving a Defendants’ hotel during the time period

 alleged in Plaintiff’s Complaint; or (2) volunteers the Plaintiff’s true identity, the question or

 relevance shifts. Courts have permitted this approach in other cases, specifically for ex parte

 contacts between defendants and non-party plaintiffs’ treating physicians, where the primary

 concern was protecting the physician-patient relationship. 1                 The Vioxx court noted that the

 discovery limits would “provide a safeguard against improper influence by any party.” In re

 Vioxx Prod. Liab. Litig., 230 F.R.D. 470, 473 (E.D. La. 2005).                        Similarly, another court

 expressed concern about improper collusion between the defendants and a non-party treating

 physician. Manion v. N.P.W. Med. Ctr. of N.E. Pennsylvania, Inc., 676 F. Supp. 585, 594–95

 (M.D. Pa. 1987). Protecting sex trafficking survivors, such as the Plaintiff, from non-party

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           See, e.g., Saucier v. Lakeview Corp., No. 1:14CV249-LG-JCG, 2014 WL 12906612, at *3–4 (S.D. Miss.
 Dec. 30, 2014) (protective order forbidding ex parte contact; discovery from a treating physician had to be through a
 deposition); In re Kugel Mesh Hernia Repair Patch Litig., No. MDL 07-1842ML, 2008 WL 2420997, at *1 (D.R.I.
 Jan. 22, 2008), objections overruled, No. MDL 07-1842 ML, 2008 WL 2433253 (D.R.I. Feb. 25, 2008), and order
 clarified, No. MDL 07-1842ML, 2008 WL 2810207 (D.R.I. July 21, 2008) (citing the Vioxx case and forbidding ex
 parte communications with plaintiffs’ treating physicians); In re Vioxx Prod. Liab. Litig., 230 F.R.D. 470, 472 (E.D.
 La.), modified on reconsideration, 230 F.R.D. 473 (E.D. La. 2005), and modified, No. MDL 1657, 2005 WL
 2036797 (E.D. La. July 22, 2005) (requiring both parties to serve five days notice if they wished to interview
 plaintiffs’ physicians, who were not parties but were potential defendants); Manion v. N.P.W. Med. Ctr. of N.E.
 Pennsylvania, Inc., 676 F. Supp. 585, 594–95 (M.D. Pa. 1987) (forbidding ex parte contact without “reasonable
 advance notice”).




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 traffickers is an even more compelling justification than protecting physician-patient privilege,

 especially since the traffickers are unlikely to be witnesses as the plaintiffs’ physicians were.

 Improper collusion is also more likely where the non-party risks felony criminal charges for the

 conduct at issue instead of a malpractice suit.

                                          CONCLUSION

         WHEREFORE, premises considered, the Plaintiff respectfully requests that this

 Honorable Court grant this motion for Protective Order regarding her identity and identifying

 information and that such information not permitted to be disclosed to the trafficker or his

 affiliates.

         DATED: June 23, 2020                      Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 23, 2020, I electronically filed the foregoing with the

 Clerk of the Court using the CM/ECF System, which will send notification of such filing to all

 counsel of record.

        Dated this 23rd day of June 2020.

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